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                            UNITED STATES DISTRICT COURT
                             DISTRICT OF MASSACHUSETTS

                                                          )
In re: DAILY FANTASY SPORTS LITIGATION                    )     MDL No. 16-02677-GAO
                                                          )
This Document Relates To:                                 )
                                                          )
     All Cases                                            )
                                                          )


                 PLAINTIFFS’ SUPPLEMENTAL BRIEFING REGARDING
                       FANDUEL ARBITRATION FORMATION

       Plaintiffs submit the following in response to this Court’s Order (DE#357) to address

Meyer v. Uber, Docket Nos. 162750cv, 162752cv, 2017 WL 3526682 (2d. Cir. Aug. 17, 2017).

At oral argument on FanDuel’s Motion to Compel Arbitration, this Court sought a clearly

defined, objective standard to apply to registration screens to determine if a user had reasonably

conspicuous notice of an arbitration agreement and unambiguously manifested assent to it. In

Meyer, the Second Circuit has provided the closest thing yet to a bright line rule. Under that

bright line rule, FanDuel’s registration method fails and Plaintiffs never agreed to an arbitration

agreement.

       The Second Circuit honed in on the registration screen’s details to analyze how the

arbitration agreement was presented to the user: “we must consider whether Meyer was on

inquiry notice of the arbitration provision by virtue of the hyperlink to the Terms of Service on

the Payment Screen and, thus, manifested his assent to the agreement by clicking ‘Register.’” Id.

at *21. The Second Circuit began its analysis by noting that “a reasonably prudent smartphone

user knows that text that is highlighted in blue and underlined is hyperlinked to another webpage

where additional information will be found.” Id. at *24. The court found that the reason those

blue, underlined hyperlinks gave reasonable notice was that the screen where the user


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encountered them was “uncluttered” by other information. Meyer at *24. Further, the blue and

underlined hyperlinks, though small, were in “dark print [that] contrasts with the bright white

background.” Id. Finally, the Second Circuit noted that because the account creation was

“coupled with the mechanism for manifesting assent - i.e., the register button - the notice is

temporally coupled.” Id. at 25. In sum, the Second Circuit broke down the analysis into four

factors, with the first a thread running through the last three: (1) what the hyperlinks look like;

(2) how cluttered the screen appears around those hyperlinks; (3) the visibility of the hyperlinks

in relation to the background; and (4) whether the hyperlinks were coupled with the mechanism

for user assent. FanDuel objectively fails all four prongs.

       Under the first and most important prong, FanDuel’s link to the Terms of Use were

neither blue nor highlighted, while other hyperlinks were blue. See, e.g., FanDuel’s Motion to

Compel Arbitration, DE#318-2 at pg. 2; DE#318-3 at pg. 2 and Plaintiffs’ First Amended Master

Class Action Complaint and Jury Demand (“Complaint”) (DE#269) at ¶272. This should end the

analysis, as the Second Circuit clearly found the presentation of clear, universally recognized

hyperlinks was the most relevant factor as to whether there was reasonably conspicuous notice,

and it used the other three factors to determine whether Uber obscured those hyperlinks.

FanDuel’s links were not reasonably conspicuous because they do not look like what a

reasonably prudent internet user knows to be hyperlinks; instead they were disguised so as to not

resemble the other hyperlinks.

       Under the second prong, FanDuel’s non-blue, non-underlined hyperlink is contained in

lines of text that are more cluttered than Uber’s screen, which did not include any additional

language or communication to the user. See Meyer at Addendum A. This further obscures the

existence of a link to an arbitration agreement, especially when the other elements are the more



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well-known blue hyperlink. See DE#318-2 at pg. 2; DE#318-3 at pg. 2, Complaint at ¶272.

       FanDuel fails the third prong as well. The Second Circuit found that Uber’s hyperlink

was clearly communicated despite its small font because the “dark print contrasts with the bright

white background.” Id. at *25. However, FanDuel’s hyperlink was only slightly more bolded

than the text around it and was not clearly set against a white background, and was not blue or

underlined.

       Finally, Uber’s manifestation of assent was through a button that said “Register” and was

directly above the link to the arbitration agreement, which was temporally and spatially

connected to the user’s assent, and communicated to the user that “By creating an Uber account”

the user was agreeing to the arbitration agreement. See Meyer at Addendum A. The Second

Circuit found that a button saying “Register Now” meant that “a reasonably prudent smartphone

user would understand the terms were connected to the creation of a user account.” Meyer at

*25-26. In contrast, the FanDuel "Play Now" button is not immediately above a clear hyperlink

to the Terms of Service. In between is a larger font, blue hyperlink that separates the button

manifesting assent from the less obvious link to the arbitration agreement.         Perhaps more

importantly, FanDuel’s registration button said “Play Now” and the arbitration agreement was

linked after language that said “By signing up” (See DE#318-2 at pg. 2) or “By joining”

(Complaint at ¶272). A reasonably prudent user may not understand “Play Now” was the same

as joining because FanDuel heavily advertised free games and free money. See Complaint at,

e.g., ¶¶142, 233, 269. FanDuel thus fails this factor.

       Although the Court of Appeals in Meyer compelled arbitration, it relied on objectively

identified factors that show that FanDuel falls well short of the notice and assent requirements to

form a contract to arbitrate in the Second Circuit.



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                                  Respectfully Submitted,

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                                 CERTIFICATE OF SERVICE

        I, Christopher Weld, Jr., hereby certify that on this 25th day of August, 2017, this
document was electronically filed with the Clerk of the Court using the CM/ECF system and will
be sent electronically to the registered participants as identified on the Notice of Electronic Filing
(NEF), pursuant to Local Rule 5.4(C).


                                               /s/ Christopher Weld, Jr.




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